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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK


 UNITED STATES OF AMERICA

               -against-

 AL MALIK ALSHAHHI, et. al.                              Case No. 21-CR-371 (BMC)

                      Defendants.



                                NOTICE OF APPEARANCE


        Please enter the appearance of Nicole M. Argentieri of O’Melveny & Myers LLP as

 counsel for Defendant Thomas Joseph Barrack in the above-captioned case.



 Dated: New York, New York                      Respectfully submitted,
        October 8, 2021
                                                O’MELVENY & MYERS LLP

                                                /s/ Nicole M. Argentieri

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